Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 1 of 20 PageID #: 83
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 2 of 20 PageID #: 84
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 3 of 20 PageID #: 85
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 4 of 20 PageID #: 86
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 5 of 20 PageID #: 87
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 6 of 20 PageID #: 88
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 7 of 20 PageID #: 89
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 8 of 20 PageID #: 90
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 9 of 20 PageID #: 91
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 10 of 20 PageID #: 92
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 11 of 20 PageID #: 93
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 12 of 20 PageID #: 94
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 13 of 20 PageID #: 95
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 14 of 20 PageID #: 96
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 15 of 20 PageID #: 97
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 16 of 20 PageID #: 98
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 17 of 20 PageID #: 99
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 18 of 20 PageID #:
                                    100
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 19 of 20 PageID #:
                                    101
Case 1:22-cv-00249-KAC-CHS Document 16-1 Filed 01/03/23 Page 20 of 20 PageID #:
                                    102
